

Matter of Attorneys in Violation of Judiciary Law § 468-a (Pimentel) (2024 NY Slip Op 01234)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Pimentel)


2024 NY Slip Op 01234


Decided on March 7, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 7, 2024

PM-29-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Committee on Professional Standards, Now Known as Attorney Grievance Committee for the Third Judicial Department, Petitioner; Amante Albano Pimentel, Respondent. (Attorney Registration No. 2195782.)

Calendar Date:February 13, 2024

Before:Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department. Foley Griffin LLP, Garden City (Chris McDonough of counsel), for respondent. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Foley Griffin LLP, Garden City (Chris McDonough of counsel), for respondent.



Motion by respondent for an order reinstating him to the practice of law following his suspension by September 2009 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 65 AD3d 1447, 1472 [3d Dept 2009]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to December 21, 2023, and the February 6, 2024 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has satisfied the requirements of Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c) (5), (2) respondent has complied with the order of suspension and the rules of this Court, (3) respondent has the requisite character and fitness to practice law, and (4) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Aarons, J.P., Lynch, Ceresia, McShan and Mackey, JJ., concur.








